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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                      IN THE UNITED STATES DISTRICT COURT                        October 13, 2016
                       FOR THE SOUTHERN DISTRICT OF TEXAS                       David J. Bradley, Clerk
                                HOUSTON DIVISION




UNITED STATES OF AMERICA                 §
                                         §         CRIMINAL NO. H-13-575-01&05
v.                                       §
                                         §         CIVIL ACTION NO. H-16-1898
ALEXANDER S. SELLERS and                 §         CIVIL ACTION NO. H-16-1922
KEELAND DURALLE WILLIAMS                 §




                         MEMORANDUM OPINION AND ORDER



       Codefendants,        Alexander   S.    Sellers       and       Keeland      Duralle

Williams, have filed motions under 28 u.s.c.                 §   2255 to vacate, set

aside,    or correct        their sentences.           (Docket Entry No.          236 and

No. 238) 1    Pending before the court is the United States' Motion to

Dismiss   §   2255 Motions (Docket Entry No. 271).

      On November 25, 2013, Sellers and Williams (along with other

codefendants) were charged in a Superseding Indictment with three

counts:       Count One alleged aiding and abetting aggravated bank

robbery, in violation of 18 U.S.C.           §§   2113(a),       (d), & 2; Count Two

alleged aiding and abetting the carrying and brandishing of a

firearm      during   and    in   relation   to    a    crime    of    violence         (bank

robbery),     in violation of 18 U.S.C.           §§   924 (c) (1) (A) (ii)      & 2; and

Count Three alleged conspiracy to carry or brandish a                              firearm



      1
      Docket Entry citations are             to relevant docket entries in
Crim. No. 4:13-575.
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during and in relation to a crime of violence                      (bank robbery) , in

violation of 18 U.S.C.             §   924(o).       (Docket Entry No. 55)             Sellers

and Williams pleaded guilty to Counts One and Two pursuant to

written Plea Agreements (Docket Entry No. 96 (Sellers) and No. 104

(Williams)).        On August 28,         2014, the court sentenced Sellers to

110 months in prison (26 months on the bank robbery charge and a

consecutive term of 84 months on the§ 924(c) charge)                       (Docket Entry

No.    163) i    and sentenced Williams              to 154 months       in custody        ( 70

months on the bank robbery charge and a consecutive term of 84

months    on the     §   924 (c)       charge)       (Docket Entry No.         159).      Both

defendants        received     five-year         terms   of   supervision.             Neither

defendant appealed.            (§ 2255 Motions, Docket Entry No. 236, p. 1

and No. 238, p. 2)

        Sellers filed an undated motion under 28 U.S.C.                          § 2255 to

vacate     his    conviction       and    sentence,      which    the    District        Clerk

docketed on June 27, 2016.               (Docket Entry No. 236)          Williams signed

a     similar motion      on   June      21,     2016,    which   the    district        court

docketed on June 27, 2016.                (Docket Entry No. 238)               Both Sellers

and Williams challenge their convictions under 18 U.S.C. § 924(c),

asserting that after Johnson v.                   United States,        135 S.     Ct.    2551

(2015), the convictions are unconstitutional.

        A motion filed under 28 U.S.C. § 2255 is subject to a one-year

statute of limitations, which ordinarily begins running on the date

the judgment of conviction became final.                      28 U.S.C.    §    2255 (f) (1).

Because Sellers and Williams did not file notices of appeal, their

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convictions became final fourteen days after entry of the judgments

of      conviction         on    September             2014.           Fed.     R.   App.

P.    4 (b) (1) (A) (ii).       Accordingly,    the statute of          limitations on

Sellers'       and Williams'        § 2255 motions expired on September 16,

2015.        Because Sellers and Williams did not file the present§ 2255

motions within that one-year limitations period, their motions are

untimely and subject to dismissal. 2

        Sellers and Williams           argue    that    their    § 2255 motions are

timely under 28 U.S.C. § 2255(f) (3) because they filed the motions

within one year of Johnson.             See Document Entry No. 236, p. 10 and

No.    238,    p.    11.    Section 2255(f) (3)        provides that the one-year

limitations period shall run from the latest of --                           "the date on

which the right asserted was initially recognized by the Supreme

Court, if that right has been newly recognized by the Supreme Court

and made retroactively applicable to cases on collateral review;
        II




        In Johnson the Supreme Court held that the residual clause

definition of "violent felony"               in the Armed Career Criminal Act

("ACCA"),       18    U.S.C.    §   924(e)(2)(B)(ii),       is    unconstitutionally

vague. 3      135 S. Ct. at 2563.       In Welch v. United States, 136 S. Ct.


        2
      Neither Sellers nor Williams argues                       that   the    statute   of
limitation should be equitably tolled.

       The ACCA imposes a mandatory minimum sentence of fifteen
        3

years in prison on defendants (1) who are convicted of unlawfully
possessing a firearm, in violation of 18 U.S.C. § 922(g) (1), and
 (2) who have at least three prior convictions for a violent felony,
a serious drug offense, or both.    18 U.S.C. § 924(e) (1).

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1257,      1268        (2016)   1      the     Court              held          that       Johnson        applies

retroactively          to   cases       on collateral                      review.          Because       neither

Sellers nor Williams was convicted for unlawfully possessing a

firearm in violation of 18 U.S.C.                                 §    922(g),        the ACCA is not at

issue in this case.                 Instead, Sellers and Williams challenge their

convictions under 18 U.S.C.                    §   924(c)              for aiding and abetting the

carrying and brandishing of a firearm during and in relation to a

crime of violence.

        Section 924(c) proscribes the use or carrying or brandishing

of a firearm during or in relation to a drug trafficking crime or

a crime of violence, or the possession of a firearm in furtherance

of a drug trafficking crime or a crime of violence.                                                  18   u.s.c.
§    924 (c) (1) (A).           The     definition                    of    "crime         of   violence"       in

§   924 (c) ( 3) includes a residual clause that is different from the

residual clause definition of violent felony held unconstitutional

in Johnson.            Compare        18     U.S.C.       §           924 (c) (3) (B)       with 18 U.S.C.

§   924 (e) (2) (B) (ii).           Sellers and Williams argue that their § 924 (c)

convictions are no longer valid because under Johnson the residual

clause definition of                  "crime of violence"                        in    §    924 (c) ( 3) (B)    is

unconstitutional.           In United States v. Gonzalez-Longoria, ___ F.3d

     , 2016 WL 4169217 (5th Cir. Aug. 5, 2016)                                     (en bane), the Fifth

Circuit held that 18                   U.S. C.      §   16 (b) ,            which contains the same

definition        of    "crime        of     violence"                as    §    924 (c) ( 3) (B) ,       is   not

unconstitutionally              vague.             Sellers'                and    Williams'          arguments

therefore have no merit, and their                            §       2255 motions are not timely.

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     Because the        §   2255 motions filed by Sellers and Williams are

time-barred,     the United States' Motion to Dismiss            §   2255 Motions

(Docket Entry No.           271)   is GRANTED,   and Sellers'   Motion Under 28

U.S.C.   §   2255 to Vacate, Set Aside, or Correct Sentence By a Person

in Federal Custody            (Docket Entry No.    236)   and Williams'    Motion

Under 28 U.S.C.     §   2255 to Vacate, Set Aside, or Correct Sentence By

a Person in Federal Custody (Docket Entry No. 238) are DENIED.

     SIGNED at Houston, Texas, on this 13th day of October, 2016.




                                                       rsiMLAKE
                                                 UNITED STATES DISTRICT JUDGE




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